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 1   McGREGOR W. SCOTT
     United States Attorney
 2   STANLEY A. BOONE
     Assistant U.S. Attorney
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 4   Fresno, California 93721
     Telephone: (559) 497-4000
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 7
 8                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                     )       1:07-CR-0057-0WW
11                                                 )
                      Plaintiff,                   )       STIPULATION TO CONTINUE
12                                                 )       HEARING and ORDER
              v.                                   )
13                                                 )
     ELIZABETH ROBERTA BEAUFORD,                   )
14                                                 )
                      Defendant.                   )
15                                                 )
                                                   )
16
17            IT IS HEREBY STIPULATED by and between the parties hereto through their respective
18   counsel, Stanley A. Boone, Assistant United States Attorney for Plaintiff, and Richard A.
19   Beshwate, Jr., Attorney for Defendant, that Sentencing as to Elizabeth Roberta Beauford presently
20   set for February 19, 2009, at 9:00 a.m., may be continued to April 21, 2008, at 9:00 a.m.
21   ///
22   ///
23   ///
24   ///
25   ///
26   ///
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28                                                     1
       Case 1:07-cr-00057-OWW Document 85 Filed 02/19/08 Page 2 of 2


 1                                           Respectfully submitted,
 2
                                             McGREGOR W. SCOTT
 3                                           United States Attorney
 4
     DATED: February 14, 2008          By    /s/ Stanley A. Boone
 5                                           STANLEY A. BOONE
                                             Assistant U.S. Attorney
 6
 7
 8   DATE: February 14, 2008           By   _/s/ Richard A. Beshwate, Jr.
                                            RICHARD A. BESHWATE, JR
 9                                          Attorney for Elizabeth Roberta Beauford
10
                                       ORDER
11
12   IT IS SO ORDERED.
13   Dated: February 15, 2008              /s/ Oliver W. Wanger
     emm0d6                           UNITED STATES DISTRICT JUDGE
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